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                  EXHIBIT 2
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     SIX4THREE, LLC, a Delaware
12   limited liability company

13

14                              UNITED STATES DISTRICT COURT

15                           NORTHERN DISTRICT OF CALIFORNIA

16

17   SIX4THREE, LLC, a Delaware limited      )          Case No.
     liability company,                      )
18                                           )            COMPLAINT FOR DECLARATORY
          Plaintiff,                         )            JUDGMENT AND INJUNCTIVE
19                                           )            RELIEF
     v.                                      )
20                                           )            DEMAND FOR JURY TRIAL
     FACEBOOK, INC., a Delaware corporation, )
21                                           )
          Defendant.                         )
22                                           )

23   ///

24   ///

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26

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29
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 1

 2
                                      PRELIMINARY STATEMENT
 3

 4            Plaintiff six4three, LLC (“643” or “Plaintiff”) brings this action for declaratory judgment

 5   and injunctive relief against Defendant Facebook, Inc. (“Facebook” or “Defendant”).

 6                           NATURE OF ACTION AND RELIEF SOUGHT
 7            1.     This is a civil action for declaratory and injunctive relief to vindicate the rights of
 8
     643 in connection with a gripe site maintained at FacebooksAppEconomy.com (the “Site”).
 9
     FacebooksAppEconomy.com serves as an information resource for software developers, and in
10
     particular small businesses, (“Developers”) that have been impacted by Facebook's unfair and
11

12   deceptive practices. Small businesses that have been impacted can use the website to sign up for

13   updates that follow the course of ongoing litigation and learn how they may protect their rights.
14            The Site also serves as a forum for increased public awareness of the harm caused by a
15
     lack of regulation in application economies. This is an issue of great importance to the public, the
16
     legal system and the global economy. Today, some of the largest economies in the world have
17
     their rules made and monitored by companies who also get to play in the game. This aligns
18
     incentives naturally toward anti-competitive behavior that detrimentally impacts both small
19

20   businesses and consumers.

21            Facebook's application economy in particular has experienced a series of anti-competitive
22   transfers of wealth. The Site focuses on a major one that impacted thousands of businesses,
23
     people and families: the closing of the Open Graph announced on April 30, 2014 in which
24
     Facebook gave itself a monopoly on building applications spanning numerous industries after
25
     promising for years that Developers could build the same applications and compete on neutral
26

27   terms.

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               The Site offers a proposal for regulating Facebook's $227 billion economy in order to
 1

 2   prevent events like this from happening again. The Site’s proposal seeks to establish a basic set

 3   of rights and obligations for everyone participating in Facebook's application economy with the

 4   goal of minimizing perverse incentives towards anti-competitive behavior, which harms the
 5   public interest and threatens the long-term viability of the economy itself. In doing so, the Site
 6
     seeks to engage the public and legal community not only to support the proposal but also to
 7
     participate in its evolution.
 8
               2.       643 is an image recognition software startup that built an application integrated
 9

10   with Facebook’s operating system, known as Facebook Platform. Like many Developers, 643

11   invested substantial sums of time, money and resources in building an application on Facebook

12   Platform. In doing so, 643 reasonably relied upon years of explicit promises from Facebook
13
     regarding its commitment to neutrality, fairness and competition on Facebook Platform. On April
14
     30, 2014, Facebook broke the promises it had made to Developers for many years and closed off
15
     their access to many types of applications that they had already made substantial investments in
16
     building and maintaining. Many companies were affected by this “bait and switch” tactic, and as
17

18   noted by The Wall Street Journal, a substantial number of these companies were forced to shut

19   down. 1
20             3.       In April 2015, 643 filed a complaint in the Superior Court of California, County
21
     of San Mateo (“Ongoing Litigation”). In June 2016, the Court denied Facebook’s demurrer as to
22
     four causes of action promulgated by 643, including a cause of action under California’s Unfair
23
     Competition Law (UCL) and scheduled the matter for trial in Spring 2017. In a court-mandated
24

25   mediation on 8 November 2016, 643 proposed that Facebook implement a series of policy
     1
26       See: “Facebook’s Restrictions on User Data Cast a Long Shadow,” The Wall Street Journal, at
     http://www.wsj.com/articles/facebooks-restrictions-on-user-data-cast-a-long-shadow-1442881332
27

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     changes as part of a settlement proposal to promote fairness and competition in Facebook’s
 1

 2   application economy. Facebook refused to discuss these measures with 643. In an effort to raise

 3   awareness of this important issue of anti-competitive behavior in application ecosystems, 643

 4   notified Facebook of the Site, including its intention to engage the developer community around
 5   this issue to garner support for its proposal.
 6
            4.      On 11 November 2016, Facebook sent a Notice of Facebook Trademark
 7
     Infringement to 643, attached hereto as Exhibit A. In its Notice, Facebook claims that 643’s
 8
     registration and use of the Site violates the Lanham Act (15 U.S.C. § 1051 et seq.) and infringes
 9

10   and dilutes the famous Facebook trademark. The Notice requests that 643 remove the Site and let

11   its domain registration lapse or Facebook “will have no choice but to pursue all available

12   remedies against [643]”. See Exhibit A.
13
            5.      643 therefore brings this declaratory relief action to clarify the rights of the
14
     parties, and to refute the baseless assertions of trademark infringement and trademark dilution
15
     finally and definitively. Plaintiff seeks a declaratory judgment holding that the Site does not
16
     infringe any trademarks held by Defendant and is protected by the Fair Use Doctrine,
17

18   California’s Anti-SLAPP Law (Cal. Civ. Proc. Code § 425.16), and the First Amendment of the

19   United States Constitution. 643 also seeks an injunction enjoining Defendant from any efforts to
20   enforce any trademark in the Facebook trademark against 643 and the Site, including through the
21
     use of DMCA takedown notices, WIPO arbitration, or otherwise.
22
                                               THE PARTIES
23
            6.      Plaintiff 643 is a Delaware limited liability company with a principal place of
24

25   business at 535 Mission Street, 14th Floor, San Francisco, California.

26

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             7.      Upon information and belief, Defendant Facebook, Inc. is a Delaware
 1

 2   Corporation with a principal place of business at One Hacker Way, Menlo Park, California.

 3                                      JURISDICTION AND VENUE

 4           8.      This is an action for declaratory judgment arising under the Federal Declaratory
 5   Judgment Act, 28 U.S.C. §§ 2201 and 2202. This Court has subject matter jurisdiction over
 6
     Plaintiff’s federal claims pursuant to 15 U.S.C. §§ 1121, and 28 U.S.C. §§ 1331 and 1338 in that
 7
     this Complaint raises federal questions arising under the Lanham Act, 15 U.S.C. § 1125, arising
 8
     out of interstate commerce.
 9

10           9.      This Court has personal jurisdiction over the Defendant because it resides in and

11   is doing business in the State of California. Defendant has purposefully availed itself of the
12   privilege of conducting activities in this State and the Northern District. Defendant has sold
13
     billions of dollars of advertising in this State. Further, Defendant has intentionally engaged in
14
     acts targeted at the Northern District. Plaintiff resides in this District and manages the domain
15
     and the Site in this District. Defendant’s false assertions of infringement and dilution were and
16

17   are directed at Plaintiff in this District.

18           10.     Venue is proper in the Northern District of California under 28 U.S.C. §

19   1391(b)(2) because a substantial part of the events giving rise to Plaintiff’s claims has occurred
20   and will continue to occur in the Northern District of California.
21
                                          FACTUAL ALLEGATIONS
22
             11.     Plaintiff 643 is an image recognition software company that has alleged it was
23
     harmed by Defendant Facebook’s unfair and deceptive business practices. 643 invested in
24

25   software that can automatically search and organize photos based on their contents in order to

26   provide a more advanced photo sharing service for Facebook’s users. For years, Facebook

27

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     promised Developers like 643 access to Facebook user photos so long as the user and their
 1

 2   friends permitted Developers’ applications to access them. On April 30, 2014, Facebook

 3   removed Developer access to Facebook user photos. As a result, Facebook became the only

 4   company that could intelligently search and sort Facebook user photos. 643 was forced to shut
 5   down its initial application and lost its investment of time, capital and labor in building its initial
 6
     application. Many other small businesses were similarly impacted by Facebook’s decision to
 7
     monopolize this market.
 8
             12.     To raise awareness of this issue of important public interest regarding the lack of
 9

10   regulation in one of the largest economies in the world, 643 created the Site. The Site is

11   evidently a gripe site and is entirely non-commercial in nature. The domain of the Site,

12   FacebooksAppEconomy.com, clearly does not communicate any intent to sell any good or
13
     service.
14
             13.     The main navigation of the Site includes a “thumbs-down” image and the words
15
     “Our Demands” and “Join Litigation”. The primary content above the fold on the site is a call to
16
     action to Facebook Developers to join an effort to increase awareness among lawmakers and
17

18   regulators, like the Federal Trade Commission, of the importance of this issue to small

19   businesses and consumers. Users of the Site can send a letter to the Federal Trade Commission
20   (FTC) and California Attorney General. Further, users can watch a documentary video
21
     recounting the history of Facebook Platform, including Facebook’s “bait and switch” behavior
22
     that has harmed thousands of businesses, people and families.
23
             14.     The Site does not offer any good or service for sale, has no ability to take
24

25   payment information, and does not include or display any advertisements. 643 has no intention

26   of selling the domain or the Site. 643 is not profiting and will not profit from the Site as it has no

27

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     commercial purpose whatsoever and this lack of commercial purpose is evident prior to even
 1

 2   entering the Site. As such, it is hard to imagine how the Site could result in consumer confusion

 3   or dilute the Facebook’s trademark.

 4           15.      Rather, the Site addresses a matter of great public interest. It is estimated that
 5   Facebook’s application ecosystem produced $227 billion of economic activity and supported 4.5
 6
     million jobs in 2014 alone. 2 This application ecosystem currently operates in the absence of
 7
     regulation. Facebook sets the rules of the game and is also one of its largest players. Facebook
 8
     has taken advantage of this fact to effectuate large transfers of wealth from small businesses and
 9

10   consumers to itself by engaging in a series of “bait and switch” tactics that violate Section 5 of

11   the Federal Trade Commission Act (FTCA) and California’s Unfair Competition Law (UCL).

12   Application ecosystems, or App Economies, are new and innovative industries critical to the
13
     global economy as a whole.
14
             16.      The rule of law has yet to catch up to these innovative economies, but many in the
15
     legal community have begun to take notice of the immense harm caused by a failure to regulate.
16
     As recently as 19 October 2016, Representative Henry C. “Hank” Johnson, the Ranking Member
17

18   of the Antitrust Subcommittee of the House Judiciary Committee, called on the FTC to

19   investigate anti-competitive behavior in App Economies. Johnson wrote: “It is critical that we
20   promote and defend competition, even in markets that are highly innovative, to ensure that small
21
     entrants aren’t squeezed out through needlessly restrictive conditions and policies…. I strongly
22
     encourage the FTC to give this issue the close attention that it deserves.” 3 The Site serves a
23
     critical function in exposing how App Economies are manipulated in the absence of regulation.
24
     2
25     See: “New Deloitte Report Looks at Facebook’s Impact on Global Economy, Jobs,” 20 January 2015, at
     http://newsroom.fb.com/news/2015/01/new-deloitte-report-looks-at-facebooks-impact-on-global-economy-jobs/.
     3
26     See: “Johnson Leads Bipartisan Call for Investigation of Anticompetitive Practices in the App Marketplace,” 19
     October 2016, at https://hankjohnson.house.gov/media-center/press-releases/johnson-leads-bipartisan-call-
27   investigation-anticompetitive-practices.

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     In doing so, the Site also identifies what we can do as a public and legal community to promote
 1

 2   fairness and competition in these economies in order to ensure their long-term stability and

 3   protect businesses and consumers.

 4          17.     Upon information and belief, Facebook sent its Notice of Trademark Infringement
 5   to 643 with full knowledge of the intended purpose of the Site, a purpose that is evidently both
 6
     non-commercial in nature and of great importance to the business and legal communities.
 7
     Facebook knew of this intended purpose because 643 communicated it to Facebook in advance
 8
     of and during a court-mandated mediation on 8 November 2016. As such, Facebook’s Notice
 9

10   was designed to create a “chilling effect” intended to suppress 643’s free speech and activities in

11   furtherance of a matter of great importance to the public. The First Amendment to the

12   Constitution of the United States and California’s Anti-SLAPP law (Cal. Civ. Proc. Code §
13
     425.16) prohibit conduct intended to create this kind of “chilling effect” around issues of great
14
     public importance, particularly when the activities are in connection with a judicial proceeding
15
     and an overt campaign to raise awareness among lawmakers and regulators of a great injury to
16
     small software businesses founded and operating in the United States. In an effort to prevent 643
17

18   from raising awareness of this issue, Facebook has lashed out and accused 643 of trademark

19   infringement and dilution. There exists a justiciable controversy regarding 643’s right to make a
20   fair use of the Facebook trademark free of any allegations by Defendant that such conduct
21
     constitutes an infringement of any trademark owned by Defendant.
22
                                    FIRST CLAIM FOR RELIEF
23                    (Declaratory Judgment – Non-Infringement of Trademark)
24          18.     Plaintiff re-alleges and incorporates each and every foregoing paragraph as
25
     though fully set forth herein.
26

27

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            19.     An actual justiciable controversy exists as to whether the Site infringes any
 1

 2   trademark owned by the Defendant.

 3          20.     Plaintiff is entitled to a declaratory judgment that its use of the Facebook

 4   trademark is protected by the Fair Use Doctrine, California’s Anti-SLAPP Law and the First
 5   Amendment of the Constitution of the United States.
 6
                                   SECOND CLAIM FOR RELIEF
 7                       (Declaratory Judgment – Non-Dilution of Trademark)

 8          21.     Plaintiff re-alleges and incorporates each and every foregoing paragraph as
 9
     though fully set forth herein.
10
            22.     An actual justiciable controversy exists as to whether the Site dilutes any
11
     trademark owned by the Defendant.
12
            23.     Plaintiff is entitled to a declaratory judgment that its use of the Facebook
13

14   trademark is protected by the Fair Use Doctrine, California’s Anti-SLAPP Law and the First

15   Amendment of the Constitution of the United States.
16                                      THIRD CLAIM FOR RELIEF
17                                    (Declaratory Judgment – Fair Use)

18          24.     Plaintiff re-alleges and incorporates each and every foregoing paragraph as

19   though fully set forth herein.
20          25.     An actual justiciable controversy exists as to whether Plaintiff’s use of any
21
     materials to which Defendant holds trademark or copyright is protected by the Fair Use Doctrine.
22
            26.     Plaintiff is entitled to a declaratory judgment that its use of the Facebook
23
     trademark is protected by the Fair Use Doctrine, California’s Anti-SLAPP Law and the First
24

25   Amendment of the Constitution of the United States.

26                                        PRAYER FOR RELIEF

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             WHEREFORE          Plaintiff seeks judgment awarding it the following relief:

             a)       An order declaring that Plaintiff does not infringe or dilute any valid trademark
2

3                     owned by Defendant;

4            b)       An order declaring that any alleged use by Plaintiff of any materials to which

5                     Defendant holds trademark or copyright is privileged under, and protected by, the

6
                      Fair Use Doctrine;
7
              c)      An order enjoining Defendant from asserting any alleged trademarks or
8
                      copyrights against Plaintiff in connection with the Site and She-related activities;
9
              d)      An order awarding attorneys'        fees, costs, and expenses incurred in connection
10

11                    with this action to Plaintiff;

12            e)      An order awarding such other and further relief as this Court deems just and

13
                      proper.
14
                                                   JURy DEMAND
15
              Plaintiff demands a trial by jury as to all issues so triable.
16

17
       DATED:      November 21, 2016                               CRITERION     LAW
18
                                                                   BIRNBAUM      & GODKIN
19

20
                                                                   BY:~
21                                                                   BasITP. Fthenakis, Esq.
                                                                     David S. Godkin
22                                                                   James E. Kruzer
                                                                     Attorneys for Plaintiff
23
                                                                      Six4Three, LLC
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                                                                                                         ClVlL COVER SHEET
The JS.CAND 44 civil cover sheel and the information contained herein neither replace nor supplement the filing and service of pleading." or other papers as required by law,
except as provided by local fules of court. This fonll. appro\'cd in its original fonn by the Judicial Conference anile United SlOtes in September 1974, is required for the Clerk of
Court to initiaic the civil docket sheet. (f\HE INSTRUCTIONS ON NEXT PAC;!:' 0,.. THIS FORM.)
1. (a) PLAINTIFFS                                                                                                                                 DEFENDANTS

        SIX4THREE, LLC, a Delaware limited liability company FACEBOOK, INC., a Delaware corporation

       (b)     Count)' of Residence of First Listed Plaintiff
                                          (EXCHl>7'IN U.s. J>I.AINTIFFCAS/:',~J
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                                                                                                                                  ':':':':':'=11 Residenceof FirstListedDefendant .~IS~'~"~'~i'~"~"~Co~,,"~'~Y=====
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    160 $tockholden;' Suits                      Uj   355 Motor Vthicle                       . 371 Truth in Lending             fa  720 Lnbor/Mnnl'lgellll:1Il                   , 863 DlWCIDIWW (405(g)
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    19fi Other Contrncl
    195 Contrnct Product Liability               [3   360 Other Personal                              Propcny Damage             ffi740 RnilwBy l..nbor Act                       " 865 RSI (405(g))                   '... 890 Olber Statutory Actions




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         nl-:i\L I'ROI''':RT\'                         CIVIL RIGIITS
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                                                                                        Habells Corpus:
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     210 Land Condemnation                                                                                                                                                                                            E] R99 Administrntive Procedun:



I
                                                                                                                                                                                          or Defendant)
     220 Foreclosure                                  441 Voting                    la463 Alien Detainee
                                                                                                                                                                                 ~71IRS-Third     Party                      Act/Review or Appetll of
  • 230 Rent Lease &. Ejectmcnt                       442 Emplo)"Illent             0510 Motions 10 VlIcale
                                                                                                                                                                                        26 USC 9 7609                        Agency Decision
                                                      443 Housing!                           Sentence
  , 240 Tons 10 Land
  -. 245 Ton Product Liability                            AccommodAtions            n:J530 Genernl
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  .- 290 All Other Reol Property                                                              IE)
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                                                          Other                     550 Civil Rights
                                                  lD 44S Education                • 555 Prison Condition
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                                                                                                      Condilions of
                                                                                                      Confinenu:nt

   V. ORIGIN
       [E) 1 Original
              Proceeding
                            (PlOCCflf/   "X"'"OnrHnXOIlM
                                   IIi 2 Removed from
                                            State Court
                                                                            o 3 Appellate
                                                                                Remanded from
                                                                                          Court
                                                                                                                       [[1 4 Reinstaled or
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                                                                                                                                                                                                 Litigation-Tmnsfcr
                                                                                                                                                                                                                             [ZJ 8 Multidistriel
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   VI. CAUSE OF ACfION

       VII. REQUESTED IN                             o
                              CHECK IF T1iIS IS A Cl.ASS ACfION                                                                         DEMAN» S                                              CHECK YES only if demanded in complaint:
            COMPLAtNT:        UNDER RULE 23, Fed. R. Civ. P,                                                                                                                                  JURY     DEMt\NJ>:             [ij Yes El        No

       VIII. RELATED CASE(S),
                 IF Al\ry         (Set ''',tlnICI/OII,I):                                        JUDGE                                                                               DOCKET NUMBER
       IX. DIVISIONAL ASSIGNMENT                                            (Civil Local Rule 3-2)
       (plnee an "X" in Ont Bo,' Onl)')                                                  IElSAN FRANCISCO/OAKLAND                                                           If'lSAN JOSE           [l EUREKA-M

       DATE: 1112t/2016                                                                          SIGNATURE OF ATTORNEY OF RECORD:
